Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 1 of 13 PageID #: 101




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


MONOLITHIC POWER SYSTEMS, INC.,

       Plaintiff, Counterclaim-Defendant,
                                                 C.A. No. 1:23-cv-01155-RGA
v.

REED SEMICONDUCTOR CORP.,

       Defendant, Counterclaim-Plaintiff.



  DEFENDANT REED SEMICONDUCTOR CORP.’S ANSWER TO THE
    AMENDED COMPLAINT, DEFENSES, AND COUNTERCLAIMS

      Defendant Reed Semiconductor Corp. (“Reed” or “Defendant”) by and

through its undersigned counsel, hereby answers the Amended Complaint of

Plaintiff Monolithic Power Systems, Inc. (“MPS” or “Plaintiff”), following the

respectively numbered paragraphs of the Amended Complaint, as follows:

           RESPONSE TO MPS’S ALLEGATIONS REGARDING
                  THE NATURE OF THE ACTION

      1.    The allegation contained in Paragraph 1 sets forth a legal conclusion to

which no response is required. Reed admits that Plaintiff asserts a claim for patent

infringement. Reed denies all allegations of infringement and any remaining

allegations contained in Paragraph 1.
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 2 of 13 PageID #: 102




      2.     Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 2. Accordingly, these allegations are denied.

      3.     Reed admits that it competes in the power convertor market. Reed

denies the remainder of the allegations contained in Paragraph 3.

      4.     Reed admits that Exhibit 1 purports to be a copy of U.S. Patent No.

9,590,608. Reed denies all other allegations in Paragraph 4.

  RESPONSE TO MPS’S ALLEGATIONS REGARDING THE PARTIES

      5.     Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 5. Accordingly, these allegations are denied.

      6.     Reed admits that it is a corporation organized under the laws of

Delaware with its principal place of business at 875 Centerville Road, Warwick, RI,

02886.

           RESPONSE TO MPS’S ALLEGATIONS REGARDING
                 SUBJECT MATTER JURISDICTION

      7.     The allegations contained in Paragraph 7 set forth legal conclusions to

which no response is required. To the extent necessary, Reed admits that federal

courts generally have subject-matter jurisdiction over claims for patent infringement.

Any remaining allegations in this Paragraph are denied.




                                          2
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 3 of 13 PageID #: 103




            RESPONSE TO MPS’S ALLEGATIONS REGARDING
            PERSONAL JURISDICTION, VENUE, AND JOINDER

      8.     Reed admits that it is incorporated in Delaware. All other factual

allegations in Paragraph 8 are denied. Reed specifically denies that it has committed

acts of patent infringement in Delaware or in any other State. The remainder of

Paragraph 8 sets forth legal conclusions to which no response is required.

      9.     Reed admits that it is incorporated in Delaware. All other factual

allegations in Paragraph 9 are denied. Reed specifically denies that it has committed

acts of patent infringement in Delaware or in any other State. The remainder of

Paragraph 9 sets forth legal conclusions to which no response is required.

RESPONSE TO MPS’S ALLEGATIONS REGARDING THE MPS PATENT

      10.    Reed admits that United States Patent No. 9,590,608 (“the ’608 Patent”)

purports on its face to have issued on March 7, 2017 from an application filed on

August 18, 2015 and to claim priority from China Patent Application, No.

20141039070.8. Reed further admits that Exhibit 1 purports to be a copy of the ’608

Patent. Reed denies that the ’608 Patent was duly and legally issued. Reed lacks

information sufficient to form a belief as to the truth of the remaining allegations

contained in Paragraph 10. Accordingly, these allegations are denied.

      11.    Admitted.

      12.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 12. Accordingly, these allegations are denied.

                                          3
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 4 of 13 PageID #: 104




      13.    Admitted.

      14.    Reed denies that the ’608 Patent is valid and enforceable.

            RESPONSE TO MPS’S ALLEGATIONS REGARDING
                      FACTUAL BACKGROUND

      15.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 15. Accordingly, these allegations are denied.

      16.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 16. Accordingly, these allegations are denied.

      17.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 17. Accordingly, these allegations are denied.

      18.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 18. Accordingly, these allegations are denied.

      19.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 19. Accordingly, these allegations are denied.

      20.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 20. Accordingly, these allegations are denied.

      21.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 21. Accordingly, these allegations are denied.

      22.    The ’608 patent speaks for itself. To the extent Paragraph 22 contains

assertions reflecting MPS’s belief with respect to the disclosure of ’608 patent, Reed



                                          4
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 5 of 13 PageID #: 105




lacks information sufficient to form a belief as to the truth of the allegations

contained in Paragraph 22. Accordingly, these allegations are denied.

            RESPONSE TO MPS’S ALLEGATIONS REGARDING
               DEFENDANT’S ALLEGED INFRINGEMENT

      23.    Denied.

      24.    Reed admits that it designs power converters. All remaining allegations

in Paragraph 24 are denied.

      25.    Reed admits that Exhibit 2 to the Amended Complaint purports to be a

claim chart alleging infringement of the ’608 Patent. Reed denies that it infringes

the ’608 Patent, and denies the remaining allegations of paragraph 25.

      26.    Denied as stated. Reed admits that it sells its products indirectly through

distributors. All remaining allegations in Paragraph 26 are denied.

      27.    Denied as stated. Reed admits that it assists its customers with

purchasing products. All remaining allegations in Paragraph 27 are denied.

      28.    Denied.

      29.    Denied.

      30.    Denied.

      31.    Reed admits that Exhibit 2 purports to identify certain products that

allegedly infringe the ’608 Patent. Reed denies that it infringes the ’608 Patent, and

denies the remaining allegations of paragraph 31.

      32.    Denied.

                                           5
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 6 of 13 PageID #: 106




      33.    Denied.

      34.    Denied.

      35.    Admitted.

      36.    Denied.

      37.    Denied.

      38.    Denied.

      39.    Denied.

          RESPONSE TO MPS’S ALLEGATIONS REGARDING
        COUNT I: INFRINGEMENT OF U.S. PATENT NO. 9,690,608

      40.    Reed adopts, repeats and realleges each and every response previously

set forth in paragraphs 1-39 in this Answer as if fully set forth in this paragraph.

      41.    Reed lacks information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 41. Accordingly, these allegations are denied.

      42.    Denied.

      43.    Denied.

      44.    Denied.

      45.    Denied.

      46.    Denied.

      47.    Denied.

      48.    Denied.

      49.    Denied.

                                           6
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 7 of 13 PageID #: 107




    RESPONSE TO MPS’S ALLEGATIONS REGARDING DAMAGES

      50.    Denied.

            RESPONSE TO MPS’S ALLEGATIONS REGARDING
                     DEMAND FOR JURY TRIAL

      51.    Paragraph 51 contains allegations to which no response is required. To

the extent a response is required, Reed admits that MPS demands a trial by jury

pursuant to Fed. R. Civ. P. 38.

                RESPONSE TO MPS’S PRAYER FOR RELIEF

      Reed hereby incorporates its foregoing responses to Paragraphs 1-51 of the

Amended Complaint and denies that Plaintiff is entitled to any relief of judgment

whatsoever, including from Reed, either as prayed for in the Amended Complaint or

otherwise. Reed respectfully requests judgment dismissing all claims, with an award

of its attorneys’ fees and costs, and against MPS in all respects.

                                    DEFENSES

      1.     The Amended Complaint fails to state a claim upon which relief can be

granted.

      2.     Plaintiff’s requested relief is barred, in whole or in part, under

principles of equity, including without limitation, prosecution history estoppel,

waiver, or estoppel.




                                          7
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 8 of 13 PageID #: 108




      3.      Reed does not infringe and has not infringed, literally or by the doctrine

of equivalents, any valid and enforceable claim of the ’608 Patent, either directly,

contributorily, by inducement, jointly, willfully, or in any other manner.

      4.      Each asserted claim of the ’608 Patent is invalid or unenforceable for

failing to comply with one or more of the requirements for patentability under the

patent laws of the United States, including but not limited to 35 U.S.C. §§ 102, 103,

and 112.

      5.      Plaintiff’s requested relief is barred, in whole or in part, under 35 U.S.C.

§§ 286-288.

      6.      Plaintiff cannot prove this is an exceptional case and thus is precluded

from seeking recovery of attorneys’ fees under 35 U.S.C. § 285.

      7.      Because of limitations in the claims of the ’608 Patent, statements made

in the specifications of the ’608 Patent, prior art to the ’608 Patent, or proceedings

in the U.S. Patent and Trademark Office during prosecution of the applications that

led to the issuance of the ’608 Patent, Plaintiff is estopped from asserting that claims

of the ’608 Patent cover any apparatus, device, or product of Reed.

      8.      Reed has not willfully infringed and is not willfully infringing the

asserted claims of the ’608 Patent identified in the Amended Complaint.




                                            8
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 9 of 13 PageID #: 109




      9.     Plaintiff’s claims for damages predating the filing of this lawsuit are

barred or limited to the extent that Plaintiff failed to provide actual or constructive

notice as required by 35 U.S.C. § 287 or otherwise.

      10.    Plaintiff is not entitled to any injunctive relief as it has, at a minimum,

no irreparable injury and has an adequate remedy at law.

      11.    To the extent that Plaintiff asserts that Reed indirectly infringed, either

by contributory infringement or inducement of infringement, Reed is not liable to

Plaintiff for the acts alleged to have been performed before Reed knew that its

actions were alleged to constitute indirect infringement.

      12.    By pleading these defenses, Reed does not in any way agree or concede

that Reed has the burden of proof or persuasion on any of these issues. Reed reserves

the right to assert additional defenses, including those listed in Fed. R. Civ. P. 8(c),

which may be learned during discovery and further factual investigation in this case.

                                COUNTERCLAIMS

                                   THE PARTIES

      1.     Counterclaimant Reed Semiconductor Corp. (“Reed”) is a corporation

organized and existing under the laws of the State of Delaware with its principal

place of business at 875 Centerville Road, Warwick, RI, 02886.

      2.     Upon information and belief, Counterclaim Defendant Monolithic

Power Systems, Inc. (“MPS”) is a corporation organized and existing under the laws


                                           9
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 10 of 13 PageID #: 110




of Delaware, having its principal place of business at 5808 Lake Washington

Boulevard NE, Kirkland, WA 98033.

                         JURISDICTION AND VENUE

      3.     These Counterclaims arise under the patent laws of the United States,

35 U.S.C. § 101 et seq. and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.

This Court has subject matter jurisdiction over the Counterclaims pursuant to 28

U.S.C. §§ 1331, 1338, 2201, and 2202.

      4.     This Court has personal jurisdiction over MPS, and venue is proper in

this Judicial District, because MPS is incorporated in Delaware and has invoked the

jurisdiction of this Court by filing its Amended Complaint in this Court.

              Count I: Declaration of Invalidity of the ’608 Patent

      5.     Reed incorporates by reference the preceding paragraphs of these

Counterclaims as though fully set forth herein.

      6.     This Counterclaim is for declaratory relief pursuant to 28 U.S.C. §§

2201-2202, and seeks a declaration under the patent laws of the United States that

the asserted claim(s) of the ’608 Patent are invalid. This Counterclaim relates

directly to claims asserted by MPS in the Amended Complaint. MPS asserts that the

’608 patent is valid and enforceable. (see Amended Complaint, at ¶14). Reed

contends that the asserted claims(s) of the ’608 Patent are invalid. Therefore, an




                                         10
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 11 of 13 PageID #: 111




actual controversy exists between the parties under Article III of the United States

Constitution.

      7.     The asserted claim(s) of the ’608 Patent are invalid under 35 U.S.C. §§

101, 102, 103 and/or 112.

      8.     On information and belief, one or more products that include each and

every limitation of at least claim 1 of the ’608 Patent were on the market, sold to and

used by consumers, and publicly disclosed in the United States prior to the effective

filing date of the ’608 Patent, and were on sale more than one year prior to the earliest

effective priority date of the ’608 Patent.

      9.     On information and belief, one or more patents or other printed

publications disclosed each and every limitation of at least claim 1 of the ’608 Patent

prior to the earliest effective priority date of the ’608 Patent.

      10.    For example, U.S. Patent Nos. 7,026,801; 7,145,316; and 9,350,241,

alone or in combination with each other and/or other prior art publications and

products, anticipate or render obvious at least claim 1 of the ’608 Patent.

      11.    On information and belief, a person of ordinary skill in the art would

have been motivated to combine one or more of the prior art products and/or one or

more prior art references to achieve the asserted claim(s) of the ’608 Patent.




                                           11
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 12 of 13 PageID #: 112




           Count II: Declaration of Non-Infringement of the ’608 Patent

         12.   Reed incorporates by reference the preceding paragraphs of these

Counterclaims as though fully set forth herein.

         13.   Reed designs semiconductor chips for use in power converters.

         14.   Reed’s products do not infringe any of the claims of the ’608 Patent

because they lack one or more required limitations of the claims, either literally or

under the doctrine of equivalents, including but not limited to the bootstrap refresh

module as claimed in the ’608 Patent. Specifically, Reed products do not include a

bootstrap refresh module as claimed in all independent claims of the ’608 Patent.

                              PRAYER FOR RELIEF

         WHEREFORE, Reed respectfully prays the Court grant the following relief:

         (1)   That judgment be entered in favor of Reed;

         (2)   That this Court enter an Order declaring that the asserted claim(s) of

the ’608 Patent is or are invalid;

         (3)   That this Court enter an Order declaring that the asserted claim(s) of

the ’608 Patent is or are not infringed by Reed’s products;

         (4)   That this Court declare this to be an exceptional case under 35 U.S.C.

§ 285;

         (5)   That this Court award Reed its costs in this action, together with

reasonable attorneys’ fees and pre-judgment and post-judgment interest; and


                                          12
Case 1:23-cv-01155-RGA Document 10 Filed 12/07/23 Page 13 of 13 PageID #: 113




      (6)     That this Court grant Reed such other and further relief as it deems just

and proper.

                          DEMAND FOR JURY TRIAL

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Defendant Reed

Semiconductor Corp. demands a trial by jury as to all issues so triable.

Date: December 7, 2023                 Respectfully submitted,

                                       FOX ROTHSCHILD LLP

                                       /s/ Austen C. Endersby
                                       Austen C. Endersby (No. 5161)
                                       919 N. Market Street, Suite 300
                                       Wilmington, DE 19801
                                                - and -
                                       2020 K Street, Suite 500
                                       Washington, DC 20006
                                       Tel.: (202) 461-3100
                                       Email: aendersby@foxrothschild.com

                                       Of counsel:

                                       Ryan N. Miller (pro hac vice forthcoming)
                                       FOX ROTHSCHILD LLP
                                       2000 Market Street, 20th Floor
                                       Philadelphia, PA 19103-3222
                                       Tel.: (215) 299-2000
                                       Email: rmiller@foxrothschild.com

                                       Attorneys for Defendant and
                                       Counterclaimant Reed Semiconductor,
                                       Inc.




                                          13
